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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                  Plaintiff,
        vs.                              Case No. 12-40006-03-RDR

DENNIS AUGUSTINE,

                  Defendant.


                          MEMORANDUM AND ORDER

        Defendant is charged with conspiracy to possess with intent to

distribute methamphetamine. This case is before the court upon two

motions to suppress.         The court conducted a hearing upon the

motions on May 7, 2012 and is prepared to rule.

        MOTION TO SUPPRESS STATEMENTS - Doc. No. 43

        Defendant was interrogated in custody by law enforcement

officers with the Salina, Kansas police department on November 30,

2011.     Defendant received an oral Miranda warning prior to making

any incriminating statements.         He also signed and initialed a

written form which set forth his Fifth and Sixth Amendment rights.

        Defendant contends in his motion to suppress that he did not

waive his Miranda rights knowingly, intelligently and voluntarily

because he was suffering from the absence of certain drugs for

which he had a prescription and because he was under the influence

of certain other drugs.      The government has the burden of proving

a valid waiver by a preponderance of the evidence. U.S. v. Burson,
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531 F.3d 1254, 1256 (10th Cir. 2008).

     Legal standards

     The Tenth Circuit reviewed the relevant standards applicable

to this issue in U.S. v. Smith, 606 F.3d 1270, 1276 (10th Cir.

2010):

     A waiver of Miranda rights must be made voluntarily,
     knowingly, and intelligently. See Smith v. Mullin, 379
     F.3d 919, 932 (10th Cir. 2004). Our inquiry into a
     waiver's validity has two dimensions:

          First, the relinquishment of the right must
          have been voluntary in the sense that it was
          the product of a free and deliberate choice
          rather   than   intimidation,  coercion,   or
          deception. Second, the waiver must have been
          made with a full awareness of both the nature
          of the right being abandoned and the
          consequences of the decision to abandon it.
          Only if the totality of the circumstances
          surrounding the interrogation reveal both an
          uncoerced choice and the requisite level of
          comprehension may a court properly conclude
          that the Miranda rights have been waived.

     Id. (quoting Moran v. Burbine, 475 U.S. 412, 421, 106
     S.Ct. 1135, 89 L.Ed.2d 410 (1986)). In determining
     whether rights were voluntarily waived, we consider: the
     suspect's age, intelligence, and education; whether the
     suspect was informed of his or her rights; the length and
     nature of the suspect's detention and interrogation; and
     the use or threat of physical force against the suspect.
     See Smith, 379 F.3d at 934; United States v.
     Minjares–Alvarez, 264 F.3d 980, 985 (10th Cir. 2001).

          The same factors are assessed in determining whether
     a confession was voluntarily given. See Smith, 379 F.3d
     at 934; Minjares–Alvarez, 264 F.3d at 984–85. In
     addition, identifying coercive police activity is a
     necessary predicate to finding that a confession is not
     voluntary. See Smith, 379 F.3d at 934. Importantly,
     “[t]he state of intoxication does not automatically
     render a statement involuntary.” United States v. Muniz,
     1 F.3d 1018, 1022 (10th Cir. 1993). Rather, the test is

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     “whether a [suspect's] will was overborne by the
     circumstances surrounding the giving of a confession.”
     Dickerson v. United States, 530 U.S. 428, 434, 120 S.Ct.
     2326, 147 L.Ed.2d 405 (2000) (internal quotation marks
     omitted).

     Findings and conclusions

     The court has watched a recording of defendant’s interrogation

and listened to the testimony of two Salina police officers.                   With

due consideration, the court makes the following findings.

     Defendant is approximately 50 years old.              He has a prior drug

conviction and has served time in prison.             So, he has experience

with drug investigations and the criminal justice system.                       He

appears to be a man of average intelligence.                     Prior to his

interrogation he received and acknowledged his Miranda rights and

agreed to speak with the law enforcement officers.                 He was told

that he could stop speaking at any time.                   His interview was

conducted   in    the   early   afternoon     at    what   appeared   to   be     a

comfortable      setting.       Defendant     was   not    restrained.          His

interrogators do not appear to be armed.            They addressed defendant

in a conversational manner and did not threaten him with physical

force or otherwise.         They did explain that he was facing the

possibility of a federal indictment and a lengthy sentence.                    The

interview lasted approximately 70 minutes.

     The main issue raised in defendant’s motion is whether the

presence or absence of certain drugs had such an impact upon

defendant’s mental state that his confession should be considered


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to be involuntary.          Two witnesses to the interrogation, James

Norton and Chad McCary, testified that defendant did not appear

intoxicated and that his faculties and will were not overborne by

the influence of drugs.           During the interview, defendant denied

that he was under the influence of drugs.             Defendant appears sober

in the recording of the interview.              He seems to understand the

questions being asked.           Most but not all of the time, he quickly

and directly answered the questions posed.                The court does not

believe the presence of drugs in defendant’s system made defendant

unaware of the nature of his rights and of the consequences of his

decision to speak with the police.              Indeed, at times during the

interview, it appeared to the court that defendant understandably

struggled with the thought of those consequences.

        As for the absence of drugs, defendant told the officers

during his interrogation that he took three different prescription

drugs and that sometimes his anxiety becomes really bad without

them.    He compared the feelings of anxiety without the medication

with    those   he   was   feeling    during    the   interview.         Defendant

mentioned at least four times during the interview that he needed

his medication, sometimes suggesting that he was having a hard time

thinking without it.        This occurred as he was questioned regarding

how much methamphetamine he received from his supplier and was

asked    to   identify     who   bought   methamphetamine        from   defendant.

Defendant never lost control of his emotions or failed to maintain


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cognition. While defendant may have been more comfortable with his

medication,    the   court    cannot        conclude   that       the   absence   of

medication    caused   defendant    to       proceed    involuntarily        or   in

ignorance of the consequences of his actions and statements.

Defendant’s posture, eye contact and diction were consistent with

someone who was in control of his faculties and his conduct.

     In conclusion, after careful consideration the court finds

that the government has proven by a preponderance of the evidence

that defendant knowingly, intelligently and voluntarily waived his

rights.    Therefore, the motion to suppress his statements shall be

denied.

     MOTION TO SUPPRESS EVIDENCE RELATED TO SEARCH WARRANT - Doc.

No. 44

     Law     enforcement     officers       executed   a   search       warrant   at

defendant’s home at 904 N. 10th St. in Salina, Kansas.                    Defendant

contends that the search warrant was not supported by probable

cause. “Probable cause” is a “fair probability” that contraband or

other evidence will be found in a particular place.                        U.S. v.

Biglow, 562 F.3d 1272, 1281 (10th Cir. 2009).

     Contents of the search warrant affidavit

     The following information is taken from the search warrant

affidavit.    Lt. James Norton has been a law enforcement officer in

Kansas for 24 years and employed by the Salina, Kansas police

department for 21 years.       He has training and experience as a drug


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task force officer and participated in numerous drug arrests and

investigations.     Based on that experience and training, Lt. Norton

knows that it is common for drug dealers “to secrete contraband,

proceeds of drug sales, and records of drug transactions in secure

locations within their residences for ready access and to conceal

these records from law enforcement authorities.”                   Ex. 3, p. 3.

      A computer check for 904 N. 10th St. in Salina determined that

defendant Augustine had active water service at that location at

the time of the search warrant.           Another check of a different city

computer system listed defendant as a resident at that address.

      Defendant Augustine was arrested and convicted of possession

of   methamphetamine    with     intent     to    distribute       in   1993.      The

prosecution was supported by methamphetamine found at defendant’s

residence at that time.        He was placed on parole in 1997.

      In November 2011, a drug task force was investigating Kevin

Ashcraft, Lisandro Clara-Fernandez and others for distributing

methamphetamine in the Salina area.              A wiretap of Ashcraft’s phone

indicated    that    Clara-Fernandez           was    Ashcraft’s        source      of

methamphetamine.      On November 13, 2011, a phone used by Clara-

Fernandez    was   traced   to    Salina,    Kansas      and   Kevin     Ashcraft’s

residence.    Surveillance witnessed a Red GMC Sierra pickup truck

with a Hispanic male driver at Ashcraft’s house.                         The driver

entered the house. The Hispanic male then left Ashcraft’s house in

his vehicle and was followed to 904 N. 10th St. - defendant


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Augustine’s address.        He left and then returned shortly thereafter

before leaving again. He did not enter the residence. The vehicle

was stopped later by law enforcement officers and the driver was

identified as Lisandro Clara-Fernandez.

        On November 23, 2011, Clara-Fernandez’s vehicle was again seen

in   the    back   yard    at   defendant       Augustine’s      address.        Clara-

Fernandez’s phone was also traced to the address at the same time.

Surveillance witnessed a Hispanic male and a white male meet near

the driver’s door of the vehicle.               Defendant Augustine is a white

male.

        On November 27, 2011, drug task force officers had information

that Clara-Fernandez and Ashcraft were meeting at a rest stop on I-

70 for a drug transfer. Their meeting was observed and it appeared

that Ashcraft took a package from Clara-Fernandez’s vehicle and

placed the package in Ashcraft’s van.                Later, Ashcraft was stopped

on   I-70   and    a   search   of   the       van   discovered       3.12   pounds   of

methamphetamine bundled in two packages.

        Ashcraft was arrested, waived his Miranda rights and spoke to

law enforcement.          He admitted that Clara-Fernandez supplied him

with methamphetamine - 12 pounds over the past 12 months.                       He also

stated that he received methamphetamine from Clara-Fernandez on

November 13, 2011, November 23, 2011 and November 27, 2011.

        Ashcraft stated that:        Clara-Fernandez also supplied drugs to

“Dennis Augustine on North Tenth Street”; the same person (Jason


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Hudson) introduced Clara-Fernandez to Ashcraft and Augustine; and

that the only reason for Clara-Fernandez to stop at Augustine’s

house was to deliver drugs.

       Application of the good faith exception to the exclusionary

rule

       The court shall decide this motion on the basis of the good

faith exception to the exclusionary rule. Even if a search warrant

is not supported by probable cause, the evidence seized pursuant to

the warrant need not be suppressed if the executing officers acted

with an objective good faith belief that the warrant was properly

issued by a neutral magistrate.           U.S. v. Campbell, 603 F.3d 1218,

1225 (10th Cir.) cert. denied, 131 S.Ct. 351 (2010).              The relevant

principles for considering defendant’s challenge to the search in

this case are set forth in Campbell and are restated here without

interior citations and quotations:

       [It is generally presumed that] officers executed a
       search warrant in objective good faith.              This
       presumption, however, does not apply when the warrant was
       based on an affidavit so lacking in indicia of probable
       cause as to render official belief in its existence
       entirely unreasonable.      Officers’ reliance upon an
       affidavit is only entirely unreasonable when the
       affidavit is devoid of factual support. . . . An
       affidavit is not devoid of factual support if it
       establishes a minimally sufficient nexus between the
       illegal activity and the place to be searched.       This
       minimal nexus requirement does not require that hard
       evidence or personal knowledge of illegal activity link
       a Defendant's suspected unlawful activity to his home.
       On the contrary, an affidavit establishes a sufficient
       nexus when it describes circumstances which would warrant
       a person of reasonable caution in the belief that the


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        articles sought are at a particular place.        Factors
        relevant to our nexus analysis include but are not
        limited to (1) the type of crime at issue, (2) the extent
        of a suspect's opportunity for concealment, (3) the
        nature of the evidence sought, and (4) all reasonable
        inferences as to where a criminal would likely keep such
        evidence. Furthermore, magistrates may permissibly rely
        on law enforcement officers' opinions regarding where
        contraband or evidence may be kept. And, as we have said
        before, it is merely common sense that a drug supplier
        will keep evidence of his crimes at his home.


Id. at 1230-31.

        In this case, the search warrant affidavit states that Dennis

Augustine     on   North   Tenth     Street   received     drugs    from     Clara-

Fernandez.     This information for the search warrant came from a

known    informant   (Kevin   Ashcraft)       who   was   observed     by    police

officers while he was giving the information and who could be held

responsible if his allegations turned out to be untrue.                     This is

one factor which strengthens the basis for the conclusions within

the affidavit.       See Florida v. J.L., 529 U.S. 266, 270 (2000)

(known informants can have their reputations assessed and be held

accountable if their allegations are fabricated); U.S. v. Brown,

496 F.3d 1070, 1074-75 (10th Cir. 2007) (“‘where informants are

known . . . a lesser degree of corroboration is required’”)

(quoting U.S. v. Elmore, 482 F.3d 172, 180 (2d Cir. 2007)).                        It

appears    that    the   informant    admitted      his   involvement      in    drug

transactions beyond what the police already knew.                      This also

buttresses the reliability of the informant.                See U.S. v. Allen,

297 F.3d 790, 794 (8th Cir. 2002) (statements against penal interest

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support credibility).        Furthermore, some of the relevant details

provided by the informant were corroborated by the police.                   The

police confirmed that Clara-Fernandez supplied methamphetamine to

the informant and that Clara-Fernandez had been in Salina on

November 13 and November 23, 2011 when the informant said he

received methamphetamine from Clara-Fernandez.           Officers observed

Clara-Fernandez or his vehicle at Augustine’s residence on those

dates as well.      The police also corroborated the informant’s

statement that defendant Augustine lived on North 10th Street.

Finally, the affidavit states that in the experience of a veteran

law enforcement officer, persons involved in the drug trade secrete

contraband and evidence of drug transactions in their homes, and

the Tenth Circuit has noted that this observation makes common

sense.

     Without addressing whether the search warrant for defendant’s

residence was supported by probable cause, we conclude that the

affidavit was not devoid of factual support for the issuance of a

search   warrant,   that     the   affidavit   establishes      a   minimally

sufficient nexus between illegal activity and the place to be

searched, and that officers acted in good faith in reliance upon

the warrant. Therefore, the court shall deny defendant’s motion to

suppress the evidence obtained from the execution of the warrant at

defendant’s residence.

     SUMMARY


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     To summarize, for the above-stated reasons, defendant’s motion

to suppress statements (Doc. No. 43) and defendant’s motion to

suppress evidence obtained from the search of defendant’s residence

(Doc. No. 44) shall be denied.

     IT IS SO ORDERED.

     Dated this 10th day of May, 2012 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge




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